                                           IN THE UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF VIRGINIA
                                                      ROANOKE DIVISION


                  DONALD BREEDLOVE                                    )
                                                                      )
                                  Plaintiff,                          )
                                                                      )
                          v.
                                                                      )       CASE NO.     7:19cv210
                                                                      )
                  BANKERS LIFE AND CASUALTY CO.,                      )
                  CNO SERVICES, LLC, and                              )
                  JENNIFER SWEDENBURG,                                )
                                                                      )
                                  Defendants.                         )


                                                          COMPLAINT


                          Donald Breedlove, (the plaintiff) files this Complaint against Bankers Life and Casualty


                  Company, CNO Services, LLC, and Jennifer Swedenburg, (the defendants) and in support


                  thereof, states as follows:


                                                         BACKGROUND


                          1.      Bankers Life & Casualty Company is an insurance company licensed to provide


                  services in the Commonwealth of Virginia, with a hometown office located at 5 1 1 5 Bernard Dr.,


                  Suite 305, Roanoke, Virginia 24018.


                          2.      Bankers Life and Casualty Company, operates with and under a partnership


                  agreement with CNO Services, LLC doing business at a Roanoke, Virginia hometown office at


                  the above address.


                          3.      Bankers Life and Casualty Company has a license to transact the business of


                  insurance in the Commonwealth of Virginia since 1947.


                          4.      CNO Services LLC manages operations of Bankers Life and Casualty Company
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                  in accordance with a management agreement, and at all times relevant hereto, employed
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                  individuals whose job entailed training, supervising, and disciplining employees of Bankers Life,


                  like Jennifer Swedenburg ("Swedenburg") in Roanoke Virginia.


                         5.      The above corporate defendants, Bankers Life and Casualty Company, and CNO


                  Services, LLC shall be referenced herein as "Bankers Life."


                         6.      Swedenburg was an agent of Bankers Life from 2014 to 2015 working out of their


                  Evansville, Indiana office.


                         7.      In 2016, Swedenburg became an employee of Bankers Life and worked out of


                  their Roanoke, Virginia office as a Unit Field Trainer for most of 2016.


                         8.      Prior to serving as an agent with Bankers Life, Swedenburg had no background


                  in insurance and no training in insurance.


                         9.      Her training in how to sell insurance products was conducted by Bankers Life


                  agents and employees Scott Cole, Bill Baylog, and Kyle Elliott; all of whom remain employed


                  by Bankers Life.


                          10.    While in the Evansville office in 2015, Swedenburg was 100% commission based


                  in her compensation and was licensed to sell life insurance, Medicare supplements, long term


                  and short term care insurance, and some annuities.


                          11.    She was not serving as a financial planner or advisor through Bankers Life.


                          12.    In or around January 2016, Swedenburg was offered a promotion by Scott Cole


                  ("Cole"), then regional director of Bankers Life in Greensboro, North Carolina, with the duty to


                  oversee the Roanoke, Virginia office.


                          13.    Swedenburg accepted the position as an employee in the Roanoke, Virginia office


                  as a Unit Field Trainer.


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                          14.     As a Unit Field Trainer, Swedenburg had the job of daily management for the


                  Roanoke office, selling policies to prospective and existing clients, all while training new


                  independent contractors, called agents, who were newly recruited to the Roanoke office.


                          15.     Swedenburg's compensation as a Unit Field Trainer was again based primarily on


                  her sales and the sales of the agents underneath her in the Roanoke office.


                          16.     In 2015/2016, Swedenburg trained and supervised as many as fifteen agents at


                  any one time.


                          17.     During this period, the agents Swedenburg supervised were compensated solely


                  on commission and encouraged by the Bankers Life defendants to sell as many accident, life,


                  sickness, long term care, Medicare supplement, and other general insurance policies to


                  individuals in and around Southwest Virginia.


                          18.     In 2016, Swedenburg was the highest performing Unit Field Trainer in the


                  Roanoke, Greensboro, and Winston-Salem offices of Bankers Life.


                          19.     Her sales numbers were considerably higher than any other Unit Field Trainers in


                  the region.


                          20.     During this time, her supervisor, Scott Cole offered to purchase a home at his


                  expense, so Swedenburg could live either at cost or rent free, so long as she continued to meet


                  her monthly sales goals.


                          21.     Cole was very pleased with her success and, as his compensation was also based


                  on his employee's sales, he too financially benefited from Swedenburg's success with Bankers


                  Life.


                          22.     In 2016, Bankers Life defendants serviced over $20,000,000.00 in premiums for


  Frith           accident and sickness insurance across the Commonwealth of Virginia.
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                          23.      In 2016, Swedenburg made over $130,000 selling insurance products in and


                  around Roanoke Virginia.


                                                                  TRAINING


                          24.      Bankers Life agents and employees were given access to local Medicare


                  recipients' names and numbers and encouraged to cold call these senior adults for the purpose of


                  selling them insurance policies.


                          25.      In training, Swedenburg and other Bankers Life agents were taught to state the


                  first meeting with a perspective client would be one about medical education, offering insight to


                  Medicare supplement plans and other insurance products.


                          26.      Specifically, Swedenburg trained her agents to tell callers they were from the


                  "senior education division of Bankers Life," and that they wanted to come tell them about


                  changes to Medicare.


                          27.      During the sales call, agents were taught to focus on education and client's needs


                  in order to get them to agree to an in-person meeting.


                          28.      The tag line taught to Swedenburg and other Roanoke agents was "get in the door


                  on education."


                          29.      Once in the door, Bankers' Life encouraged their agents and field trainers to sell


                  policies.


                          30.      The first step to selling was to undertake a fact finding mission to see what


                  Bankers Life products could be sold to the individual.


                          31.      In addition, Swedenburg was trained to take a check from prospective clients


                  during the first meeting, even if they were not sure they wanted to apply for a policy.


  Frith                   32.      Swedenburg would tell clients the check was needed to get a quote or to see what
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 &Davis           rates could be calculated for the client.
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                         33.     Although she was trained to submit the check with the original application for


                  insurance, Swedenburg would often hold checks for weeks or months before submitting them to


                  the home office.


                         34.     This practice was condemned by the home office and yet Swedenburg continued


                  to hold checks throughout her employment to engender trust with the clients who might not yet


                  have agreed to purchase a policy.


                         35.     Bankers Life encouraged their agents and employees to use various terms of art


                  to describe the products being offered. For example, employees were discouraged from using the


                  phrases "short term care" or "convalescent care" insurance, and were encouraged to refer to the


                  product as "extended care."


                         36.     Bankers Life trained their agents that short term care and long term care are nearly


                  identical products.


                         37.     Agents like Swedenburg were trained by Bankers Life to make existing policies


                  look bad, so that potential clients would want to purchase new policies with Bankers Life.


                         38.     The intent of using this misleading and confusing terminology was to imply the


                  product provided longer coverage than it did.


                         39.     Bankers Life trained agents to describe short term care and long term care as


                  similar products.


                         40.     Swedenburg would often tell clients the products were almost the same, and tell


                  clients to "max out" a short term care policy, implying it would provide the same or similar


                  benefits to a long term care policy.


                         41.     Swedenburg was trained by Bankers Life to sell life insurance policies and to


  Frith           highlight parts of the policies to make it appear that had certain benefits, such as guaranteed
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                  interested of 4.5% and the ability to remove money, penalty free, to pay for items the client would


                  need.


                           42.    Throughout her training at Bankers Life, employees such as Scott Cole and Kyle


                  Elliott taught Swedenburg how to cut corners and highlight certain product features to promote


                  sales.


                           43.    For example, both in Indiana and Virginia, Swedenburg witnessed Cole taking


                  internal product exams for agents so they could pass the Bankers Life license exams and go sell


                  products, likely before they were fully trained on the product.


                           44.    Elliott and Cole taught Swedenburg to try to replace any existing policies potential


                  clients had with Bankers Life policies - even if that meant replacing good and useful policies


                  with less useful Bankers Life ones.


                           45.    During a      September 2016   investigation conducted     by Bankers Life into


                  Swedenburg' s unethical conduct, Swedenburg told Bankers Life she felt she had not been


                  properly trained on company policies and procedures.


                           46.    Subsequent investigations conducted by Bankers Life into Swedenburg' s conduct


                  revealed that between 14 and 18 clients felt Swedenburg had misrepresented the nature of the


                  product purchased, the benefits, or worse, she had purchased products on behalf of clients that


                  had not agreed to the sale.


                           47.    Swedenburg was taught by Cole and Elliott, and trained her agents, not to


                  complete E-applications for policies in the presence of clients, as required by law and Bankers


                  Life policies, but rather complete the applications later outside the presence of clients.


                           48.    This meant that clients were not made aware of policy details, application


  Frith           questions, and information sought by Bankers Life until after the policies had been applied for
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 &Davis           and approved.
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                                                          COMPANY CULTURE


                         49.     Bankers Life takes pride on hiring insurance agents with no professional


                  experience and/or ties to the insurance industry.


                         50.     Swedenburg was recruited by Bankers Life and encouraged by her Bankers Life


                  recruiters to drop out of college to further pursue a career with Bankers Life.


                         51.     Kyle Elliott, one-time supervisor and trainer of Swedenburg, praised Swedenburg


                  for her work ethic and that she was very trainable and teachable.


                         52.     The company culture during Swedenburg' s time as agent and employee put a


                  significant amount of time and emphasis on sales and rewards for sales.


                         53.     Bankers Life instructed their employees and agents to set at least seven


                  appointments a day with prospective clients and to file at least 1 5 applications a month.


                         54.     High performers were awarded with lavish trips, bonuses, meals, social outings


                  and other perks from Bankers Life.


                         55.     If an agent did not meet his or her goals, he/she would be left behind in the office


                  while others went out to celebrate their financial success.


                         56.     The Roanoke office was, during all times relevant, managed by Cole who largely


                  put professional and public emphasis on sales training and applauding agent bonuses.


                         57.     Cole spent very little time training staff on the substance of products or policies


                  themselves.


                         58.     The Roanoke office's social media accounts reflects employees and agents


                  receiving large cardboard checks, lavish trips, meals, and outings for employees.


  Frith                  59.     The Roanoke office, under Cole and Swedenburg, violated a number of
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                  Banker's Life policies: such as allowing supervisors to take product exams for agents, allowing


                  unlicensed agents to go into customer's homes, allowing policies to sit undelivered past the free


                  look period, hiring felons, and more.


                         60.     Agents, including Swedenburg, were taught by Bankers Life employees and


                  trainers various deceptive practices to increase sales, such as:


                                 a.              Changing policy issue dates to match and maximize quarterly
                                                 bonus cycles;


                                 b.              Paying for client premiums themselves until they could convince
                                                 or encourage the client they needed the policy;


                                 c.              Encouraging prospective clients to cancel existing policies with
                                                 other companies, that provided good benefits to the client, in order
                                                 to write new policies with Bankers Life;


                                 d.              Sharing commissions with agents not involved in the sale of
                                                 policy;


                                 e.              Not explaining the negative aspects of policies including limited
                                                 duration of policies, fees or penalties in cancelling various
                                                 policies, etc.



                         61.     In addition to the deceptive sales practices enumerated above, Swedenburg


                  personally used the following tactics to increase the number of policies written and sold on behalf


                  of defendants Bankers Life:



                                 a.              Failing to explain "look back" periods;


                                 b.              Applying for policies without the client's permission or consent;


                                 c.              Misrepresenting the products being sold to clients on written
                                                 documents such as forms, agenda sheets, etc.;


                                 d.              Removing pages from policies once delivered to clients so the
                                                 misrepresentations made would not be obvious to the clients;
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 &Davis                          e.              Falsifying dates of birth and other health information so that clients
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                                                 would qualify for policies they would not otherwise be entitled to
                                                 absent the falsifications;

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                                 f.             Forging client's initials and signatures on paper policies, changes,
                                                and electronic policies.


                                 g-             Writing clients personal checks;


                                 h.             Stating long term care is similar to short term care; and


                                 1.             Selling policies to clients who didn't benefit from the policy.



                         62.     Swedenburg did not hide these actions from her agents or supervisor Cole


                  because she believed them at the time to be acceptable actions within the company culture.


                                                             PLAINIFF


                         63.   In or around late 20 1 5, an agent under Swedenburg and Cole named Suzette Laratta


                  called longtime Bankers Life customer Donald Breedlove to see how she could sendee his


                  existing long term care policy, originally purchased from Bankers Life in or around 2004.


                         64.   Laratta made an appointment with the plaintiff and his wife and came to the house


                  to discuss whether he had any additional needs.


                         65.    When the plaintiff had additional questions Laratta could not answer, she promised


                  to return to the home with her manager Jennifer Swedenburg.


                         66.   During the initial visits, Swedenburg indicated that in addition to his existing long


                  term care policies, Mr. and Mrs. Breedlove would need short term care policies implying that


                  their long term care policy wouldn't start until 100 days after he needed treatment.


                         67.   Further, Swedenburg indicated that Mr. Breedlove needed additional coverage


                  because his long standing policy didn't have inflation protection, low daily maximum and other


                  reasons.




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                         68.   In addition Swedenburg discussed purchasing an annuity or life insurance policy
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                  that would earn guaranteed interest, and that interest could be used to pay for the new short term

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                   care policy they were recommending. See Exhibit A attached, Agenda created during the


                   meeting.


                          69.     Swedenburg returned to plaintiff's home a number of times alone, pushing the


                   additional short term care policy.


                          70.      Upon information and belief, Swedenburg misrepresented the need and nature of


                   the short term care policy to Mr. Breedlove and his wife who also had a pre-existing long term


                   care policy.


                          71.      Specifically, Swedenburg represented it would fill in the gap not covered by Mr.


                   Breedlove' s existing policy, that the terms were better (because of the inflation provision), and


                   then Swedenburg represented to Mr. Breedlove he could max out the short term care policy and


                   it would give him up to three years of coverage.


                          72.      Mr. Breedlove and Mrs. Breedlove relied on Swedenburg and purchased the


                   policies in December 2015.


                          73.      Swedenburg delivered portions of these policies to the Breedloves in early 2016.


                          74.      Later in 2016, during additional meetings, Swedenburg convinced both of the


                   Breedloves to cancel their long term care policies they had been paying for over twelve years,


                   claiming the short term policies she sold them were similar.


                          75.      Upon the advice of Swedenburg, the Breedloves cancelled their existing long term


                   care policies in June of 2016.


                          76.      In early 2017, Swedenburg encouraged Mr. Breedlove to purchase a whole life


                   insurance policy from Bankers Life.


                          77.      The application however, was not submitted until after Swedenburg was fired in


  Frith            March 2017.
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                           78.     Plaintiff does not know who submitted the policy as his main contact was


                   Swedenburg and he was not formed of her termination when it occurred.


                           79.     Throughout their meetings, Swedenburg represented to the Breedloves that the


                   policies they purchased had certain qualities which the Breedloves now know to be untrue.


                           80.     For example, Swedenburg indicated an annuity would give Breedloves monthly


                   income and ability to withdraw money penalty free.


                           81.     Swedenburg indicated the life insurance policy would have guaranteed interest of


                   4.5%.


                           82.     Only upon learning of her firing, did the Breedloves begin to realize much of


                   Swedenburg' s behavior had been odd and likely unethical. For example, the following occurred


                   during their interactions:


                                   a.     Upon further review and during this litigation, Mr. Breedlove observed
                                          that various pages had been removed from the Policies provided by
                                           Swedenburg and Bankers Life.
                                   b.      In addition, various benefits were highlighted in the policies which the
                                           plaintiff realizes were not benefits at all.
                                   c.      At one point, Mrs. Breedlove called Swedenburg and asked to remove an
                                           amount of money from the newly purchased annuity because they wanted
                                          to pre-pay their burial expenses.
                                   d.      Swedenburg indicated to the Breedloves the money was there, but it would
                                           be a nightmare of paperwork to get the money - but she (Swedenburg)
                                          would write them a personal check for the amount and they could just pay
                                           her back later.
                                   e.      Swedenburg even went on and cut the Breedloves a check, which they did
                                           not cash.
                                   f.      At one point, Swedenburg called the plaintiff and asked him for a ride to
                                          the hospital. He refused and told her to call 911; and
                                   g-      Swedenburg would often tell the Breedloves they were like family, and
                                           how much she appreciated their friendship.


                           83.     After Swedenburg was fired from Bankers Life, the Breedloves learned the short


                   term care policies they had been sold did not have the three year benefit as Swedenburg
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                   explained, rather, a very limited benefit less than one year.
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                          84.     The Rreedloves lost a daughter to a criminal act many years ago and their


                   grandchildren are being raised by their son and his wife.


                          85.     It was very important for the Breedloves to have long term care coverage such


                   that they didn't want to place any additional burden on their son or his family should they become


                   ill.


                          86.     Mr. Breedlove complained to Bankers Life corporate who re-wrote his long term


                   care insurance and refunded $1200.


                          87.     However, Mr. Breedlove was not fully compensated for the time and money spent


                   on purchasing the unnecessary short term care policies, as well as the life insurance policy that


                   does not provide the benefits he requested.


                          88.     Now, Mr. Breedlove maintains insurance with a company he no longer trusts, has


                   money tied up in a whole life policy he would like back.


                                                 COUNT I - FRAUD - ALL DEFENDANTS


                          89.     The plaintiff repeats and realleges each and every allegation contained above.


                          90.     In their dealings with the plaintiff, the defendants intentionally and knowingly


                   made false representations of present, material facts as follows:


                                  a.      The type of insurance being offered; and
                                  b.      The nature and extent of coverage under the Bankers Life insurance plans.


                          91.     The plaintiff reasonably relied on the defendants' above referenced fraudulent


                   misrepresentations that resulted in damage to the plaintiff.


                          92.     Bankers Life trained Swedenburg to engage in the following fraudulent actions:


                                  a.      Intentional misrepresentations between short term care and long term care;
                                  b.      Policy application completion outside the presence of the client;
                                  c.      Policy date re-issuance (to maximize agent bonus potential); and
  Frith                           d.      Misrepresentations on applications and policy benefits.
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                           93.     The plaintiff relied upon the above misrepresentations and as such, suffered


                   significant financial harm.


                           94.     The plaintiff suffered damages in the form of funds expended for a Bankers


                   insurance policy that was of no use to him (the short term care policy).


                           95.      Further, the plaintiff has a life insurance plan that does not have the benefits as


                   explained.


                           96.      When Mr. Breedlove requires long term care, the family will have make claim to


                   a company that has already lost their trust.


                           97.      As a result of the defendants' fraud, the plaintiff has suffered and will continue to


                   suffer financial loss.


                                            COUNT II - CONSTRUCTIVE FRAUD - ALL DEFENDANTS


                           98.    The plaintiff repeats and realleges each and every allegation contained above.


                           99.    In their dealings with the plaintiff, the defendants misrepresented present, material


                   facts as follows:


                                   a.       The type of insurance being offered; and
                                   b.       The nature and extent of coverage under the Bankers Life insurance plan.


                           100.    The plaintiff reasonably relied on the defendants' above referenced fraudulent


                   misrepresentations that resulted in damage to the plaintiff.


                           101.    The plaintiff suffered damages in the form of funds expended for a Bankers


                   insurance policy that was of no use to him.


                           102.     Further, the plaintiff purchased a life insurance policy that does not have the


                   benefits offered, such as a guaranteed 4.5% interest.


                           103.     As a result of the defendants' constructive fraud, the plaintiff has suffered and
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                                                 COUNT III - NEGLIGENCE PER SE - BANKERS LIFE

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                           104.       The foregoing paragraphs are incorporated by reference.


                           105.       The Virginia Administrative Code      14 VAC 5-200-10, on long term care


                   insurance, states in relevant part: This chapter is designed to: (1) promote the public interest; (2)


                   promote the availability of long term care insurance coverage; (3) protect applications for long


                   term care insurance from unfair or deceptive sales or enrollment practices; and (4) promote


                   flexibility and innovation in the development of long term care Insurance.


                           106.       The plaintiff, as a consumers of long term care insurance, was the type of person


                   the long term care code section was enacted to protect.


                           107.       Section 14 VAC 5-200- 170(A) establishes standards for insurance companies,


                   requiring companies like Bankers Life, to:


                           (A)l. Establish marketing procedures to assure that any comparison of policies by its
                           agents will be fair and accurate; 2. Establish marketing procedures to assure excessive
                           insurance is not sold or issued.


                           108.       Section 14 VAC 5-200- 170(B) prohibits insurance companies, like Bankers Life
                   from:
                           (B)l. Twisting. Making any misleading representation or incomplete or fraudulent
                           comparison of any insurance policies or insurers for the purpose of inducing, or tending
                           to induce, any person to lapse, forfeit, surrender, terminate, retain, pledge, assign, borrow
                           on or convert any insurance policy or to take out a policy of insurance with another
                           insurer.
                           2. High pressure tactics. Employing any method of marketing having the effect of or
                           tending to induce the purchase of insurance through force, fright, threat, whether
                           explicit or implied or undue pressure to purchase or recommend the purchase of
                           insurance.
                           3. Cold lead advertising. Making use directly or indirectly of any method of marketing
                           which fails to disclose in a conspicuous manner that a purpose of the method of
                           marketing is solicitation of insurance and that contact will be made by an insurance
                           agent or insurance company.


                           109.       In training, Swedenburg and other agents were taught to tell callers they just


                   wanted to educate them about their Medicare options.


  Frith                    110.       Then, Bankers Life training indicated that once in the door, agents were push
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                   products not education.



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                                                              14
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                             111.   Further, they were trained to infer that short term care and long term care are very


                   similar products.


                             112.   These sales tactics, created and taught by Bankers Life to their agents and


                   employees, violated the above sections of the Virginia Administrative Code.


                             113.   Further, by encouraging agents to use ambiguous and confusing terms like


                   "extended care" instead of clear terms of art like short term or convalescent care, Bankers Life


                   violated the above sections of the Virginia Administrative Code.


                             114.   By teaching agents to use negative consequence questions, Bankers Life trained


                   agents to use high pressure tactics in violation ofthe Virginia Administrative Code as enumerated


                   above.


                             115.   By teaching agents like Swedenburg to downplay the difference between existing


                   policies maintained by the plaintiff, the one being offered by Bankers Life, Bankers Life violated


                   the above sections of the Virginia Administrative Code.


                             116.   In addition, the defendants were obligated to comply with Virginia Administrative


                   Code regarding the marketing, sale and offering of Accident and Sickness insurance (even if the


                   misrepresented the policy as long term care, and not accident and sickness insurance).


                             117.   The defendants failed to comply with 14 VAC5-140-80-B1 by failing to obtain


                   the plaintiff's signature and agreement on the limited benefit policy.


                             118.   The plaintiff's electronic signature, and initials on the short term care application


                   and life insurance application were not his own. The signature is therefore forged, and does not


                   meet the requirements under the Administrative Code.


                             119.   The defendants failed to comply with Virginia Administrative Code.


  Frith                      120.   The aforesaid acts of and/or omissions by the defendants constitute negligence
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 &Davis            per se.
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                           121.     The above misrepresentations and improper marketing tactics taught by Bankers


                   Life were violations of the Virginia Administrative Code, and committed by the defendants in a


                   reckless, consciously indifferent, or intentional manner to solicit business from the plaintiff and


                   other unknowing Virginians.


                           1 22.    As a result ofthe aforesaid acts of and/or omissions by the defendants, the plaintiff


                   sustained damages, the particulars of which have been set forth above.


                                    COUNT IV - GROSS NEGLIGENCE / PUNITIVE DAMAGES - ALL
                                                              DEFENDANTS


                           123.     Plaintiff repeats and realleges each and every allegation contained above.


                           124.     The defendants were on notice that injuries occur when clients are not honestly


                   informed about the nature of insurance products being offered.


                           125.     Further, the defendants were on notice and had been censured by the


                   Commonwealth of Virginia Bureau of Insurance for sharp marketing practices,


                   misrepresentations, and failure to follow state and federal insurance guidelines in the past.


                           126.     The defendants knew that the plaintiff had paid almost 12 years on a substantial


                   long term care policy.


                           127.     Despite knowledge of this, the defendants boldly and purposefully lied to the


                   plaintiff about the nature of his original policy, and the short term care policy being offered.


                           128.     Further, they removed policy pages and failed to disclose the actual nature of the


                   product being sold.


                           129.     The defendants' purposeful fraud, misrepresentation, and sharp dealing is


                   reprehensible.


                           130.     Such actions were intentional and/or with reckless disregard for the
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Ellerman           consequences to the plaintiff.
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                           131.    Bankers Life, through their corporate management staff, training, compensation


                   model and aggressive marketing tactics, were well aware of widespread deficiencies in


                   offerings to customers like the plaintiff and yet did nothing to remedy or prevent its


                   reoccurrence.



                           132.    Defendants ratified their employees' conduct by failing to correct or institute


                   policies that would prevent the reoccurrence of such injuries, until state police became


                   involved.


                           133.    Such actions were taken with reckless indifference to the consequences.


                           134.    The defendants, through their management staff, committed direct acts of


                   willful, wanton, and reckless conduct that render these corporate defendants directly liable for


                   punitive damages.


                           135.    The behavior and unethical conduct of Swedenburg was known to Bankers Life


                   when she was promoted to Unit Field Trainer in Roanoke, January 1, 2016.


                           136.    Prior to moving to Virginia, she had been investigated for unethical conduct in


                   selling insurance in Indiana.


                           137.    Further,   customer complaints came to the defendants' home office about


                   Swedenburg, regarding her work in Indiana, and early work in Virginia.


                           138.    Throughout her employment in Roanoke, clients began to complain about her


                   conduct, including allegations that she applied for policies without client permission; took checks


                   from clients who didn't wish to apply for policies, etc.


                           139.    As early as September 2016 (prior to the issuance of the Life Insurance policy at


                   issue) Cole and Kyle Elliott were aware of these unethical conduct allegations against


  Frith            Swedenburg.
Ellerman
 &Davis
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                             140.   No less than five formal investigations were launched by the Bankers Life home


                   office into her sharp practices and dealings with clients while she was employed in Roanoke.


                             141.   Rather than disciplining Swedenburg, re-training or firing her, Bankers Life


                   merely encouraged her to "slow down" while allowing their top producer to continue using


                   fraudulent and sharp sales tactics across the region.


                             142.   In sum, the defendants' utter disregard for their clients or perspective clients was


                   reckless and willful.


                             143.   Had Bankers Life prohibited Swedenburg from selling additional policies once


                   client complaints were made, Mr. Breedlove would not be stuck with a life insurance policy he


                   does not want. In fact, if they had called him to tell him she had been fired, after the firing, and


                   not let the application go through, he would be without damages as they relate to the life insurance


                   policy.


                             144.   The defendants actions were willful, wanton, and without regard for the safety,


                   financial consequences and wellbeing of their clients including Mr. Breedlove.


                             145.   The plaintiff suffered damages in the form of funds expended for a Bankers


                   insurance policy that was of no use to him.


                             146.   As a result of the defendants' actions, the plaintiff suffered and will continue to


                   suffer financial harm.


                             147.   As a direct and proximate result ofthe willful, wanton, and/or reckless conduct


                   of defendants and their staff, the plaintiff sustained financial harm and attorney's fees.


                             Wherefore, the plaintiff moves the Court for judgment against the defendants for


                   compensatory     damages    in   the   amount   of $250,000    (TWO    HUNDRED        .AND   FIFTY


  Frith            THOUSAND DOLLARS), and punitive damages in the amount of $350,000, plus those damages
Ellerman
 &Davis            permitted by Virginia Code, namely actual damages, reasonable attorney's fees, and costs.
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                          Trial by jury is requested.




                                                            By   s/ Lauren Ellerman
                                                                        Of Counsel



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